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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

U.S. EQUAL EMPLOYMENT
OPPORTUNITY COMMISSION,

               Plaintiff,

       v.                                             Civil Action No. 3:24-cv-00231-SLH

SHEETZ, INC.; SHEETZ                                  Hon. Stephanie L. Haines
DISTRIBUTION SERVICES, LLC; and
CLI TRANSPORT, LP,

               Defendants.


            JOINT MOTION TO CONDUCT PHASED TRIAL AND DISCOVERY

       Pursuant to Federal Rule of Civil Procedure 42(b), Plaintiff U.S. Equal Employment Op-

portunity Commission; Defendant Sheetz, Inc.; Defendant Sheetz Distribution Services, LLC; and

Defendant CLI Transport, LP (collectively, “the Parties”), by and through their undersigned coun-

sel, jointly move the Court to conduct phased trial and discovery in this action and to set a schedule

in accordance with the proposed scheduling order submitted herewith. For the reasons set forth in

the Parties’ accompanying joint memorandum in support of this motion, phasing trial and discov-

ery into discrete phases as set forth in the proposed scheduling order will provide logical opportu-

nities for expedition of the litigation; economies of judicial and party resources; and more stream-

lined, more convenient, and less expensive management of this action. Accordingly, the Parties

respectfully request that the Court grant their Joint Motion to Conduct Phased Trial and Discovery.
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                                           Respectfully submitted,

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